Case 3:16-md-02738-MAS-RLS Document 32871 Filed 07/01/24 Page 1 of 4 PageID: 188192




                      UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF NEW JERSEY


     IN RE JOHNSON & JOHNSON
     TALCUM POWDER PRODUCTS
     MARKETING, SALES PRACTICES,                    Civil No. 3:16-md-2738-MAS-RLS
     AND PRODUCTS LIABILITY
     LITIGATION

     This document relates to:
     AMY M. RICO, Individually; adult child
     NATALIE PAGE NEWTON; H.R. Jr., a
     minor child; L.R., a minor child; and M.R. a
     minor child.

     Case No. 3:17-cv-11342-MAS-RLS

       PLAINTIFFS’ RESPONSE TO THE COURT’S ORDER TO SHOW CAUSE
                                        INTRODUCTION

    Plaintiffs Amy Rico, Natalie Page Newton, H. R., Jr., and M.R. (“Plaintiffs”) respectfully

    file their response to the Court’s Order to Show Cause. In Plaintiffs’ individual case,

    Counsel for Plaintiffs filed a Motion to be Relieved as Counsel Pursuant to Local Civil

    Rule 102.1 on January 22, 2024 (Dkt. 11). On January 23, 2024, the Court set the Motion

    for February 20, 2024, and the motion was to be decided on the papers with no

    appearances required. Defendants did not file an opposition to Plaintiffs’ Motion to be

    Relieved as Counsel. On June 28, 2024, the Court Ordered Counsel for Plaintiffs shall

    supplement the Motion with a Certificate of Service of the Motion on their clients, by no

    later than July 15, 2024. (Dkt. 13). On July 1, 2024, Counsel for Plaintiffs filed its

                                               1
Case 3:16-md-02738-MAS-RLS Document 32871 Filed 07/01/24 Page 2 of 4 PageID: 188193




    supplemental Certificate of Service re Motion to Withdraw as Counsel for Plaintiffs.

    (Dkt. 14). Plaintiffs’ motion remains pending.


          Counsel for Plaintiffs seeks from this Court a voluntary dismissal without

    prejudice to their current claims against Defendants under Fed. R. Civ. P. 41(a)(2).


                                             ARGUMENT


          Pursuant to the Court’s MDL Amended PPF Order dated September 1, 2023 (Dkt.

       27291), cases filed in or transferred to the MDL during the calendar years during the

       calendar years 2016-2017, Plaintiffs were ordered to submit a Plaintiff Profile Form

       by October 16, 2023.


          Since the Court’s Amended PPF order was put in place, Wisner Baum LLP made

       numerous attempts to contact plaintiffs by telephone, email, and correspondence by

       mail and FedEx to comply with the MDL discovery deadlines including (Plaintiff

       Profile Form). Wisner Baum LLP sought extensions of the discovery deadlines given

       the lack of response by plaintiffs.


          On January 5, 2024, Plaintiff’s Counsel notified Defendants requesting an

       extension until February 10, 2024 to submit Plaintiff’s Profile Form. In addition,

       Wisner Baum LLP advised Defense Counsel the difficulties in reaching Plaintiffs and

       our intention to file a motion to withdraw and if Defendant Counsel opposes a motion

       to compel. Defense Counsel confirmed they do not oppose a motion to withdraw. (See

                                              2
Case 3:16-md-02738-MAS-RLS Document 32871 Filed 07/01/24 Page 3 of 4 PageID: 188194




       Exhibit A).


          On January 22, 2024, Plaintiff’s Counsel for Amy Rico submitted for filing a

       Notice of Motion to be Relieved as Counsel under Local Civil Rule 102.1 (Dkt. 11,

       Individual Case No. 3:17-cv-11342-MAS-RLS). As of this date, no such ruling has

       been made.


                                          CONCLUSION

          For the foregoing reasons, Wisner Baum LLP is unable to continue its

    representation of plaintiffs in the absence of their guidance, direction, cooperation, or

    participation in the litigation. Under these circumstances, Wisner Baum LLP has

    demonstrated this claim should be dismissed without prejudice. Withdrawal by Wisner

    Baum LLP as to Plaintiffs can be accomplished without adverse effect on the interests of

    the parties and will not prejudice any of the other litigants. Defense counsel is not

    opposed to Plaintiffs’ motion to be relieved as counsel for plaintiffs.


    Dated: July 1, 2024                     Respectfully Submitted by:

                                            /s/ Stephanie Sherman
                                            Stephanie Sherman, Esq.
                                            Wisner Baum, LLP
                                            11111 Santa Monica Boulevard, Suite 1750
                                            Los Angeles, CA 90025
                                            Tel: 310-207-3233
                                            Fax: 310-820-7444
                                            ssherman@wisnerbaum.com

                                            Counsel for Plaintiff

                                               3
Case 3:16-md-02738-MAS-RLS Document 32871 Filed 07/01/24 Page 4 of 4 PageID: 188195




                              CERTIFICATE OF SERVICE

          I hereby certify that on July 1, 2024, a copy of the foregoing document was

    filed electronically. Notice of this filing will be sent by operations of the Court’s

    electronic filing system to all parties indicated on the electronic filing receipt.

    Parties may access this filing through the Court’s system.

                                             /s/ Stephanie Sherman
                                             Stephanie Sherman, Esq.
                                             Wisner Baum, LLP
                                             11111 Santa Monica Boulevard, Suite 1750
                                             Los Angeles, CA 90025
                                             Tel: 310-207-3233
                                             Fax: 310-820-7444
                                             ssherman@wisnerbaum.com




                                                4
